Case 2:14-cv-08961-PA-SS Document 63 Filed 10/16/18 Page 1 of 2 Page ID #:926



   1
     EISENBERG, GILCHRIST & CUTT, P.C.
   2 Robert D. Sherlock (Utah Bar No. 02942)
   3 (Admitted Pro Hac Vice, rsherlock@egclegal.com)
     215 South State, Suite 900
   4 Salt Lake City, Utah 84111
   5 PH: 801-366-9100
   6 WATERS, KRAUS & PAUL
   7 Michael Armitage (SBN 152740, armitage@waterskraus.com)
     222 North Sepulveda Boulevard, Suite 1900
   8 El Segundo, California 90245
   9 PH: 310-414-8146
     Attorneys For Plaintiff-Relator DAVID VATAN, M.D.
  10
  11 CROWELL & MORING LLP
     Mark R. Troy (CSB No. 120418, mtroy@crowell.com)
  12 Mana Elihu Lombardo (CSB No. 228846, mlombardo@crowell.com)
  13 515 S. Flower St., 40th Floor
     Los Angeles, California 90071
  14 Telephone: 213.622.4750
  15 Facsimile: 213.622.2690
     Attorneys for Defendants QTC MEDICAL SERVICES, INC.
  16 and LOCKHEED MARTIN CORPORATION
  17
                          UNITED STATES DISTRICT COURT
  18                     CENTRAL DISTRICT OF CALIFORNIA
  19
  20                                            )    Case No. CV14-8961-PA (SSx)
       United States of America,                )   ORDER DENYING
  21   ex rel. David Vatan, M.D.                )   [PROPOSED] ORDER RE: JOINT
                           Plaintiff-Relator    )
                                                )   STIPULATED MOTION TO AMEND
  22                v.                          )     SCHEDULING ORDER DATES
  23                                            )         (FIRST EXTENSION)
       QTC Medical Services, Inc, et al.,       )
                                                )    Hearing Date: October 30, 2018
  24
                                                )            Time: 1:30 PM
  25                       Defendant.           )      Judge: Hon. Percy Anderson
                                                          Place: Courtroom 15
  26
                                                       Los Angeles – Spring Street
  27
  28


                                            1                       Proposed Order -
                                                                       Amend Scheduling Order
Case 2:14-cv-08961-PA-SS Document 63 Filed 10/16/18 Page 2 of 2 Page ID #:927



   1
             The Court, having considered Plaintiff/Relator David Vatan, M.D.
   2
       (“Relator’) and Defendants QTC Medical Services, Inc. and Lockheed Martin
   3
       Corporation’s (“Defendants”) Unopposed / Stipulated Motion to Amend
   4
       Scheduling Order Dates, and good cause having been shown:
   5
   6         IT IS HEREBY ORDERED THAT:
   7
             The Court’s Scheduling Order of April 5, 2018 (ECF #53) is amended to
   8
       establish the following dates:
   9
  10 1. Expert Designation: Amended Date: December 24, 2018
  11 2. Rebuttal Expert Designations: Amended Date : January 14, 2019
  12 3.   Motion Filing Cut-Off: Amended Date : February 14, 2019
  13
     4.   Discovery Cutoff: Amended Date: March 4, 2019
  14
     5.   Motion Hearing Cut-Off: Amended Date : March 26, 2019
  15
  16 6.   Final Pretrial Conference: Amended Date : April 29, 2019

  17 7. Jury Trial Date: May 15, 2019 at 9:00 a.m.
  18
  19         IT IS SO ORDERED.
  20
                                                  Dated: October ___, 2018

                      DENI
                         ED
  21
  22                                              ____________________
                          BYORDEROF                  ***
  23
                                                  Hon. Percy Anderson
  24                                              United States District Court Judge
                 UNI
                   TEDSTATESDI
                             STRI
                                CTJ
                                  UDGE
  25                        10/16/18
  26
  27   ***Denied without prejudice to the submitting another stipulation extending the
       deadlines for fact and expert discovery.
  28


                                           2                        Proposed Order -
                                                                       Amend Scheduling Order
